             Case 3:14-cv-03264-JD Document 2009 Filed 01/10/18 Page 1 of 4



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                               UNITED STATES DISTRICT COURT
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                            NORTHERN DISTRICT OF CALIFORNIA
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10                                 SAN FRANCISCO DIVISION

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12   IN RE: CAPACITORS ANTITRUST                    Master File No. 3:14-cv-03264-JD
     LITIGATION
13

14   This Document Relates to:                      [PROPOSED] ORDER GRANTING
                                                    PRELIMINARY APPROVAL OF CLASS
15   ALL INDIRECT PURCHASER ACTIONS                 ACTION SETTLEMENTS WITH
                                                    DEFENDANTS HITACHI CHEMICAL
16                                                  AND SOSHIN
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     [Proposed] Order Granting Preliminary Approval of Class Action Settlement with
     Defendants Hitachi Chemical and Soshin; Case No. 3:14-cv-03264-JD
             Case 3:14-cv-03264-JD Document 2009 Filed 01/10/18 Page 2 of 4



 1           On October 10, 2017, Indirect Purchaser Plaintiffs’ (“IPPs”) Motion for Preliminary

 2   Approval of Class Action Settlements with Defendants (1) Hitachi Chemical Co., Ltd., Hitachi

 3   AIC Inc., and Hitachi Chemical Co. America, Ltd. (collectively “Hitachi Chemical”), and (2)

 4   Soshin Electric Co., Ltd. and Soshin Electronics of America, Inc. (collectively “Soshin”)

 5   (collectively, the “Settlements” and the “Settling Defendants”) was heard. The Court heard the

 6   argument of counsel and having reviewed the motion and the briefing, the settlement

 7   agreements, the pleadings and other papers on file in this action, and the statements of counsel

 8   and the parties, hereby finds that the motion should be GRANTED.

 9           NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

10           1. For purposes of this Order, except as otherwise set forth herein, the Court adopts

11              and incorporates the definitions contained in the settlement agreements.

12           2. The Court hereby preliminarily approves the settlement agreements.

13           3. The Court finds that the settlements fall within the range of possible final approval

14              and that there is a sufficient basis for notifying the settlement classes and

15              understands that Settlement Class Counsel will present a motion for approval of

16              their class notice program sometime in the future;

17           4. Pursuant to Federal Rule of Civil Procedure 23, the Court certifies the following

18              settlement classes for purposes of this Motion only:

19              With regards to Hitachi Chemical:

20                  a. All persons and entities in the United States who, during the period from

21                      April 1, 2002 to February 28, 2014, purchased one or more Electrolytic

22                      Capacitor(s) from a distributor (or from an entity other than a Defendant)

23                      that a Defendant or alleged co-conspirator manufactured. Excluded from the

24                      Class are Defendants, their parent companies, subsidiaries and Affiliates,

25                      any co-conspirators, Defendants’ attorneys in this case, federal government

26                      entities and instrumentalities, states and their subdivisions, all judges

27                      assigned to this case, all jurors in this case, and all persons and entities who

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     [Proposed] Order Granting Preliminary Approval of Class Action Settlement with              1
     Defendants Hitachi Chemical and Soshin; Case No. 3:14-cv-03264-JD
             Case 3:14-cv-03264-JD Document 2009 Filed 01/10/18 Page 3 of 4



 1                      directly purchased Capacitors from Defendants.

 2                  b. All persons and entities in the United States who, during the period from

 3                      January 1, 2002 to February 28, 2014 purchased one or more Film

 4                      Capacitor(s) from a distributor (or from an entity other than a Defendant)

 5                      that a Defendant or alleged co-conspirator manufactured. Excluded from the

 6                      Class are Defendants, their parent companies, subsidiaries and Affiliates,

 7                      any co-conspirators, Defendants’ attorneys in this case, federal government

 8                      entities and instrumentalities, states and their subdivisions, all judges

 9                      assigned to this case, all jurors in this case, and all persons and entities who

10                      directly purchased Capacitors from Defendants.

11           With regards to Soshin:

12                  a. All persons and entities in the United States who, during the period from

13                      January 1, 2002 to February 28, 2014, purchased one or more Capacitor(s)

14                      from a distributor (or from an entity other than a Defendant) that a

15                      Defendant or alleged co-conspirator manufactured. Excluded from the Class

16                      are Defendants; their parent companies, subsidiaries and Affiliates; any co-

17                      conspirators; Defendants’ attorneys in this case; federal government entities

18                      and instrumentalities, states and their subdivisions; all judges assigned to

19                      this case; all jurors in this case; and all Persons who directly purchased

20                      Capacitors from Defendants.

21           5. The Court further finds that the prerequisites to certifying settlement classes under

22              Rule 23 are satisfied for settlement purposes in that (a) there are at least thousands

23              of geographically dispersed settlement class members, making joinder of all

24              members impracticable; (b) there are questions of law and fact common to the

25              settlement classes which predominate over individual issues; (c) the claims or

26              defenses of the class representatives are typical of the claims or defenses for the

27              settlement classes; (d) the Indirect Purchaser Plaintiffs will fairly and adequately

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     [Proposed] Order Granting Preliminary Approval of Class Action Settlement with              2
     Defendants Hitachi Chemical and Soshin; Case No. 3:14-cv-03264-JD
             Case 3:14-cv-03264-JD Document 2009 Filed 01/10/18 Page 4 of 4



 1              protect the interests of the settlement classes, and have retained counsel experienced

 2              in antitrust class action litigation who have, and will continue to, adequately

 3              represent the settlement classes; and (e) resolution throughout class settlements is

 4              superior to individual settlements.

 5           6. The Court hereby appoints the Plaintiffs named in the Indirect Purchaser Plaintiffs’

 6              Fifth Consolidated Complaint (February 2, 2017) (ECF No. 1589) (“FCC”) as

 7              Representative Plaintiffs of the settlement classes.

 8           7. The Court hereby appoints the law firm Cotchett, Pitre & McCarthy, LLP as

 9              Settlement Class Counsel.

10           8. IPPs’ Class Counsel and their designees are authorized to expend funds from the

11              escrow accounts to pay taxes, tax expenses, notice, and administration costs as set

12              forth in the Settlement Agreements.

13           9. All further Indirect Purchaser class proceedings as to Defendants Hitachi Chemical

14              and Soshin are hereby stayed except for any actions required to effectuate the

15              settlement.

16           10. The Court retains exclusive jurisdiction over this action to consider all further

17              matters arising out of or connected with the settlement.

18           IT IS SO ORDERED.

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     Dated: January 10, 2018
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                                                    __________________________________
21                                                  The Honorable James Donato
22                                                  UNITED STATES DISTRICT JUDGE

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     [Proposed] Order Granting Preliminary Approval of Class Action Settlement with               3
     Defendants Hitachi Chemical and Soshin; Case No. 3:14-cv-03264-JD
